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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division


     UNITED STATES OF AMERICA
    exrel RIBIK, SLOUGH, and CARSON

                    Plaintiffs,
                                                         CIVIL ACTION NUMBERS:
     V.                                                  l:09cvl3   (CMHA-CB)
                                                         l:14cvl228 (CMH/TCB)
     HCR MANORCARE INC, MANOR                            l:llcvl054 (CMH/TCB)
     CARE INC, HCR MANORCARE
     SERVICES LLC, and HEARTLAND
     EMPLOYMENT SERVICES LLC,

                    Defendants.

                                                 ORDER


            Tiiis matter is before the Court on the United States' Motion to Dismiss. It is hereby

     ORDERED that the Motion is GRANTED.

             It is further ORDERED that all claims in the United States' Consolidated Complaint In

     Intervention, Dkt. 09-cv-13 No. 84; RelatorChristine Ribik's Amended Complaint, Dkt. 09-cv-

     13 No. 23; and Relator Marie Slough's Complaint, Dkt. 14-cv-1228 No. 1,are dismissed with

     prejudice.

             It is FURTHER ORDERED that the United States and Defendants HCR ManorCare,

     Inc., ManorCare, Inc., HCR ManorCare Services, LLC, and Heartland Employment Services,

     LLC, and Relators shall each bear their own costs and fees in connection with the litigation of

     this action.

             It is so ORDERED.


     ENTERED this                 of November, 2017

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                                                          United States District Judge
